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                                       1   KENDRA S. CANAPE (SBN: 259641)
                                           kcanape@grsm.com
                                       2   GORDON & REES, LLP
                                           5 Park Plaza, Suite 1100
                                       3   Irvine, CA 92614
                                           Telephone: (949) 255-6950
                                       4   Facsimile: (949) 474-2060
                                       5   Attorneys for Defendants
                                           AYA HEALTHCARE, INC., and
                                       6   AYA HEALTHCARE SERVICES, INC.
                                       7

                                       8                         UNITED STATES DISTRICT COURT
                                       9                       SOUTHERN DISTRICT OF CALIFORNIA
                                      10   JULIANA RECINO, on behalf of                )   CASE NO. '23CV0750 MMA MSB
                                      11   herself and all others similarly situated; ))
Gordon Rees Scully Mansukhani, LLP




                                                                                       )
                                      12                    Plaintiff,                 )
      5 Park Plaza, Suite 1100




                                                                                       )   NOTICE OF REMOVAL UNDER
                                      13
         Irvine, CA 92614




                                               v.                                      )   28 U.S.C. §§ 1332(d), 1441 and
                                      14                                               )   1446 (CLASS ACTION FAIRNESS
                                                                                       )
                                           AYA HEALTHCARE, INC., a,                    )   ACT)
                                      15
                                           California Corporation; AYA                 )
                                      16   HEALTHCARE SERVICES, INC., a                )
                                                                                       )
                                      17   California Corporation; and DOES 1          )
                                           through 50, Inclusive,                      )
                                      18                                               )
                                                                                       )
                                      19                   Defendants.                 )
                                                                                       )
                                      20                                               )
                                                                                       )
                                      21                                               )
                                                                                       )
                                      22

                                      23   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
                                      24
                                                 PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332(d), 1441, and
                                      25
                                           1446, Defendants Aya Healthcare, Inc. and Aya Healthcare Services, Inc.
                                      26
                                           (collectively, “Aya”) by and through its counsel of Gordon & Rees, LLP, hereby
                                      27   files its Notice of Removal of the action styled Juliana Recino, on behalf of herself
                                      28   and all others similarly situated, v. Aya Healthcare, Inc., Aya Healthcare Services,
                                                                                    -1-
                                                                           NOTICE OF REMOVAL
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                                       1   Inc., and Does 1 through 50, inclusive, Case Number 37-2023-00011786-CU-FR-
                                       2   CTL, from the Superior Court of the State of California for the County of
                                       3   San Diego to the United States District Court for the Southern District of California
                                       4   on the ground that this Court has jurisdiction under the Class Action Fairness Act
                                       5   (“CAFA”), 28 U.S.C. §§ 1332(d), 1441(a)-(b), and 1453. In support of removal,
                                       6   Aya states as follows:
                                       7                                THE STATE COURT ACTION
                                       8          1.     On March 21, 2023, a putative class action was commenced in the
                                       9   Superior Court of California for the County of San Diego, entitled Juliana Recino,
                                      10   on behalf of herself and all others similarly situated, v. Aya Healthcare, Inc., Aya
                                      11   Healthcare Services, Inc., and Does 1 through 50, inclusive, bearing Case Number
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                                      12   37-2023-00011786-CU-FR-CTL. A copy of the Class Action Complaint
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                                      13   (“Compl.”) is attached as “Exhibit A-1.”1
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                                      14          2.     Plaintiff’s Complaint broadly claims that Aya is engaged in deceptive
                                      15   advertising, insofar as Aya is alleged to falsely market itself as a travel nursing and
                                      16   health staffing company, and is further alleged to falsely market its recruiting
                                      17   services. Compl., ¶¶ 1-2 (defining these allegations as “Challenged Services”).
                                      18   More specifically, Plaintiff alleges that Aya cannot staff any particular job or place
                                      19   a travel nurse in an advertised position because it has not actually been authorized
                                      20   by the employing hospital to post the position. Id. ¶ 13.
                                      21          3.     Plaintiff alleges that she submitted an application for a travel nurse
                                      22   position, and Aya’s recruiters informed her that the salary was incorrectly
                                      23   advertised. Id. ¶ 15. Plaintiff avers that Aya’s “failure to know the correct salary of
                                      24   a job opening further shows that Defendant Aya is not a true staffing agency; [sic] A
                                      25   genuine staffing agency should know and reasonably be expected to know the
                                      26

                                      27
                                           1
                                      28    Pursuant to 28 U.S.C. § 1446(a), copies of all summons, process, pleadings, and orders that
                                           have been filed in the State Court Action are attached as “Group Exhibit A.”
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                                                                              NOTICE OF REMOVAL
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                                       1   geographical location and salary associated with its jobs postings. (add into passage
                                       2   about recruiting agency) [sic]” Id.
                                       3         4.     Drawing from her alleged experience in seeking placement, Plaintiff
                                       4   claims that Aya’s representation that it is the “largest travel nursing agency” is false,
                                       5   and she further claims that the number of purported placement opportunities it has
                                       6   available for its candidates is untrue. Id. ¶ 2.
                                       7         5.     Upon this base of alleged “facts,” Plaintiff avers that “Aya has
                                       8   advertised and marketed, the Challenged Service to consumers and profited from
                                       9   the Challenged Services throughout California and the United States based on the
                                      10   misrepresentations that the Challenged Service’s purported benefits [sic].” Id. ¶ 4.
                                      11         6.     Plaintiff’s proposed class includes not only all persons in California
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                                      12   who used Aya’s services, but also all purchasers of the “Challenged Service” in
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                                      13   California. Id. ¶¶ 26; 49.
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                                      14         7.     The claims asserted by Plaintiff and the putative class sound in
                                      15   common law fraud, intentional misrepresentation, negligent misrepresentation,
                                      16   violations of the California Unfair Competition Law, and violations of the
                                      17   Consumers Legal Remedies Act. Id. ¶¶ 29-65 (Counts I-V).
                                      18         8.     Plaintiff, on behalf of herself and the class, seeks recovery of
                                      19   compensatory, statutory, and punitive damages. Id. at Prayer for Relief, ¶ C.
                                      20         9.     Plaintiff also prays the she and proposed class members are awarded
                                      21   the costs of this action, including reasonable attorneys’ fees and expenses. Id. ¶ D.
                                      22         10.    Significantly, Plaintiff and the class seek entry of an order enjoining
                                      23   Aya from continuing to engage in the allegedly unlawful conduct and practices
                                      24   described in her Class Action Complaint, declaratory relief, and disgorgement of
                                      25   any supposed ill-gotten gains. Id. ¶¶ D-E; H-I.
                                      26         11.    Aya denies all liability and damages, and in doing so, it also expressly
                                      27   preserves its right to seek arbitration of Plaintiff’s claim.
                                      28

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                                       1                               GROUNDS FOR REMOVAL
                                       2         12.    The Class Action Fairness Act (“CAFA”) creates federal subject matter
                                       3   jurisdiction if three requirements are met: (1) the proposed class has 100 or more
                                       4   members; (2) at least one class member is diverse from at least one defendant
                                       5   (“minimal diversity”); and (3) more than $5 million exclusive of interests and costs
                                       6   is in controversy in the aggregate. See 28 U.S.C. § 1332(d).
                                       7         13.    Where the elements of federal jurisdiction are established, federal
                                       8   courts have a “virtually unflagging obligation” to exercise the jurisdiction given to it
                                       9   under CAFA. Colorado River Water Conservation Dist. v. U. S., 424 U.S. 800, 817
                                      10   (1976) (it is a “virtually unflagging obligation of the federal courts to exercise the
                                      11   jurisdiction given them”); see also Quackenbush v. Allstate Ins. Co., 517 U.S. 706,
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                                      12   716 (1996) (federal courts “have a strict duty to exercise the jurisdiction that is
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                                      13   conferred upon them by Congress”).
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                                      14         14.    Here, CAFA’s jurisdictional requirements are satisfied by the
                                      15   allegations contained in Plaintiff’s Class Action Complaint, Aya’s investigation,
                                      16   and the attached declaration: (1) Aya’s removal is timely, (2) the proposed class has
                                      17   over 100,000 members; (3) at least one class member is diverse from Aya,
                                      18   satisfying minimal diversity; and (4) the amount in controversy exceeds the
                                      19   $5,000,000 threshold.
                                      20                                  REMOVAL IS TIMELY
                                      21         15.    Section 1446 provides, in pertinent part, that: “The notice of removal
                                      22   of a civil action or proceeding shall be filed within 30 days after the receipt by the
                                      23   defendant, through service or otherwise, of a copy of the initial pleading setting
                                      24   forth the claim for relief upon which such action or proceeding is based…”
                                      25   28 U.S.C. § 1446(b)(1).
                                      26         16.    Plaintiff’s Class Action Complaint was served upon Aya Healthcare,
                                      27   Inc. and served upon Aya Healthcare Services, Inc. on March 24, 2023. Because
                                      28   Aya’s Notice of Removal was filed on April 24, 2023, its removal petition is timely.

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                                       1   See Wells v. Gateways Hosp. & Mental Health Ctr., 76 F.3d 390 (9th Cir. 1996)
                                       2   (holding that where the removal deadline falls on a Sunday, the time period to
                                       3   remove the case is extended to Monday pursuant to Fed. R. Civ. P. 6(a)); In re Diet
                                       4   Drugs Prods. Liab. Litig., 1999 WL 554584, at *1 (E.D. Pa. 1999) (“Federal Rule
                                       5   of Civil Procedure 6(a) governs the computation of the time period set forth in 28
                                       6   U.S.C. 1446” and the defendant could timely remove on the thirty-second day after
                                       7   service of the complaint, where the thirtieth day fell on a Saturday); Medina v. Wal-
                                       8   Mart Stores, Inc., 945 F. Supp. 519, 520 (W.D.N.Y. 1996) (thirtieth day after
                                       9   service fell on a Saturday, so the last day defendant could file a notice of removal
                                      10   became the following Monday).
                                      11            THE CLASS IS FAR IN EXCESS OF 100 CLASS MEMBERS
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                                      12         17.    Plaintiff’s proposed class runs from August 31, 2018 through present,
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                                      13   and she alleges that it consists of no less than 100,000 members. Compl., ¶¶ 26; 28(a).
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                                      14         18.    As such, Plaintiff’s proposed class easily satisfies the minimum
                                      15   requirements under CAFA.
                                      16      AT LEAST ONE PLAINTIFF IS A CITIZEN OF A DIFFERENT STATE
                                      17         19.    Removal under CAFA requires minimal diversity – i.e., one of the
                                      18   defendants must be diverse from any one of the class members, whether named or
                                      19   unnamed. 28 U.S.C. § 1332(d)(2)(A) (diversity is satisfied if “any member of a
                                      20   class of plaintiffs is a citizen of a State different from any defendant”); 28 U.S.C. §
                                      21   1332(d)(1)(D) (for purposes of CAFA, “the term ‘class members’ means the
                                      22   persons (named or unnamed) who fall within the definition of the proposed or
                                      23   certified class in a class action”); Abrego Abrego v. The Dow Chem. Co., 443 F.3d
                                      24   676, 680 (9th Cir. 2006) (“Section 1332(d) thus abandons the complete diversity
                                      25   rule for covered class actions.”).
                                      26         20.    Aya Healthcare, Inc. is a corporation organized under the laws of
                                      27   Delaware with its principal place of business in California.
                                      28

                                                                                    -5-
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                                       1           21.     Aya Healthcare Services, Inc. is a corporation organized under the laws
                                       2   of Delaware with its principal place of business in California.
                                       3           22.     Plaintiff Juliana Recino is a citizen of California.
                                       4           23.     Plaintiff brings this action individually and on behalf of all persons
                                       5   statewide in California who used Aya’s services from August 31, 2018, through the
                                       6   present. Compl., ¶¶ 6; 26.
                                       7           24.     Plaintiff further brings claims on behalf of all purchasers of the
                                       8   Challenged Services through the same period. Id.
                                       9           25.     Aya has at least one client (and, per Plaintiff’s Complaint, there is a
                                      10   class member/purchaser of Challenged Services) that is diverse from Defendants.2
                                      11   “Client X” is incorporated under the laws of the State of Colorado, and it has its
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                                      12   principal place of business in Chicago, Illinois. See par. 8-9 of the Affidavit of
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                                      13   Amber Zeeb, attached as “Exhibit B.” Because “Client X” is a citizen of the States
         Irvine, CA 92614




                                      14   of Colorado and Illinois, CAFA’s minimal diversity requirement is satisfied.
                                      15              THE AMOUNT IN CONTROVERSY EXCEEDS $5 MILLION
                                      16           26.     To meet CAFA’s amount-in-controversy requirement, a defendant
                                      17   needs to plausibly show that it is reasonably possible that the potential liability
                                      18   exceeds $5 million. Greene v. Harley-Davidson, Inc., 965 F.3d 767, 772 (9th Cir.
                                      19   2020). The Ninth Circuit Court of Appeals has noted that the amount in controversy
                                      20   is the simply the “amount at stake in the underlying litigation.” Id. (internal
                                      21   citations omitted; emphasis in the original).
                                      22           27.     “Amount at stake” does not mean likely or probable liability; rather, it
                                      23   refers to possible liability. Id. Accordingly, establishing the threshold amount in
                                      24   controversy simply requires an estimate of the total amount in dispute, and
                                      25   estimating it does not require the exactitude of nuclear science. Harris v. KM Indus.,
                                      26   Inc., 980 F.3d 694, 707 (9th Cir. 2020) (internal citations omitted).
                                      27
                                           2
                                      28     Doe Defendants are to be disregarded when determining whether diversity exists. See, e.g. Rojas by &
                                           through Rojas v. Sea World Parks & Ent., Inc., 538 F. Supp. 3d 1008, 1022-23 (S.D. Cal. 2021).
                                                                                          -6-
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                                       1         28.    When determining the threshold amount in controversy under CAFA,
                                       2   courts consider actual damages, statutory and statutorily-available exemplary
                                       3   damages, and statutory attorney fees. See Pickman v. Am. Exp. Co., 2012 WL
                                       4   258842, at *2 (N.D. Cal. Jan. 27, 2012) (finding, in a CLRA claim, that it was
                                       5   reasonable to multiple the minimum amount of damages available under the Act
                                       6   ($1,000) by the number of alleged violations (there, 5001)); Galt G/S v. JSS
                                       7   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (holding that mandatory or
                                       8   discretionary attorney fees may be included in the amount in controversy); Chabner
                                       9   v. United of Omaha Life Ins. Co., 225 F.3d 1042, 1046 n.3 (9th Cir. 2000) (noting
                                      10   that statutorily-authorized treble damages could be taken into account when
                                      11   determining the amount in controversy).
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                                      12         29.    Prior to filing suit (and, presumably, based upon her assessment of
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                                      13   actual damages, statutory and exemplary damages, and statutory attorney fees),
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                                      14   Plaintiff demanded $105,000.00 to settle this action. It is well-settled that a
                                      15   settlement demand is sufficient to satisfy the jurisdictional threshold for removal.
                                      16   See Bohn v. Petsmart, Inc., 281 F. 3d 837, 840 (9th Cir. 2002) (finding a settlement
                                      17   letter is relevant evidence of the amount in controversy if it appears to reflect a
                                      18   reasonable estimate of the plaintiff's claim); see also Valdez v. Allstate Ins. Co., 372
                                      19   F.3d 1115, 1117, (9th Cir. 2004); Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d
                                      20   373, 376 (9th Cir. 1997).
                                      21         30.    If one simply multiplied Plaintiff’s individual demand by the size of
                                      22   the putative class, Aya has satisfied the threshold amount in controversy by a
                                      23   multiple of 20.
                                      24         31.    Nevertheless, and with the hopes of foreclosing any doubt that might
                                      25   surround the issue, district courts may also take into account the expense of a
                                      26   plaintiff’s prayed-for declaratory or injunctive relief. See Excel Pharmacy Servs.,
                                      27   LLC v. Liberty Mut. Ins. Co., 825 F. App’x 65, 68 (3d Cir. 2020) (holding that
                                      28   amount in controversy met in action seeking declaratory and injunctive relief where

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                                       1   defendant’s cost of compliance with injunction in the class’s favor would exceed $5
                                       2   million)); McCauley v. Ford Motor Co., 264 F.3d 952, 958 (9th Cir. 2001) (holding
                                       3   that, in actions seeking declaratory or injunctive relief, the value of the object of suit
                                       4   may be examined from either the plaintiff’s or the defendant’s point of view)).
                                       5         32.    Here, disregarding Aya’s many clients (or, in Plaintiff’s terms, the
                                       6   “purchasers of the Challenged Service in California”), if one just considered Aya’s
                                       7   Services Agreement with Client X, the prayed-for injunctive relief – the dissolution
                                       8   of that relationship – would exceed $5,000,000. See Ex. B, ¶ 9.
                                       9         33.     Finally, punitive damages may be considered in determining whether
                                      10   the removing defendant has satisfied the threshold amount in controversy. See.
                                      11   Greene, 965 F.3d at 772 (recognizing, in a suit asserting CLRA violations, that
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                                      12   juries had awarded punitive damages at ratios higher than 1:1 for the plaintiff’s
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                                      13   claims).
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                                      14         34.    Again, Plaintiff calculated the settlement value of her case at $105,000.
                                      15   Stripping it down to estimated actual damages and multiplying it by the size of the
                                      16   putative class easily satisfies the threshold amount in controversy.
                                      17         35.    In light of all of the above, CAFA’s $5,000,000 dollar requirement has
                                      18   been met.
                                      19         THE PROCEDURAL REQUIREMENTS HAVE BEEN SATISFIED
                                      20         36.    This Court embraces the locality in which the State Court Action is
                                      21   now pending, making this Court a proper forum pursuant to 28 U.S.C. § 1441(a).
                                      22         37.    Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is
                                      23   being served upon Plaintiff, and a copy is being filed with the Superior Court of the
                                      24   State of California for the County of San Diego.
                                      25         38.    If any question arises regarding the propriety of the removal of this
                                      26   action, Aya respectfully requests the opportunity to present a brief and/or oral
                                      27   argument in support of its position that this case is removable. See Arias v.
                                      28

                                                                                    -8-
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                                       1   Residence Inn by Marriott, 936 F.3d 920 (9th Cir. 2019) (finding the district court
                                       2   improperly deprived defendant of fair opportunity to submit proof that it satisfied
                                       3   CAFA’s amount in controversy requirement).
                                       4         39.    In accordance with 28 U.S.C. § 1446(a), copies of all summons,
                                       5   process, pleadings, and orders that have been filed in the State Court Action are
                                       6   attached as “Group Exhibit A.”
                                       7         40.    No waiver and no admission of fact, law, or liability, including without
                                       8   limitation the amount of damages, if any, is intended by this notice of removal. Aya
                                       9   expressly reserves it right to seek arbitration of Plaintiff’s claim pursuant to her
                                      10   entry into a contract with Aya providing for same. Aya also expressly reserves all
                                      11   defenses, affirmative defenses, and other rights.
Gordon Rees Scully Mansukhani, LLP




                                      12         WHEREFORE, Defendants Aya Healthcare, Inc. and Aya Healthcare
      5 Park Plaza, Suite 1100




                                      13   Services, Inc. hereby remove the action now pending against it in the Superior
         Irvine, CA 92614




                                      14   Court of the State of California for the County of San Diego, and request that this
                                      15   Court assume and retain full jurisdiction over this action for all further proceedings.
                                      16   Defendants request a trial by jury.
                                      17

                                      18    Dated: April 24, 2023                       GORDON & REES, LLP
                                      19
                                                                                       By: /s/ Kendra S. Canape
                                      20                                                   Kendra S. Canape
                                      21                                                   Attorneys for Defendants
                                                                                           AYA HEALTHCARE, INC.,
                                      22                                                   and AYA HEALTHCARE
                                      23                                                   SERVICES, INC.

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                                      1                            CERTIFICATE OF SERVICE
                                      2         The undersigned declares under penalty of perjury under the laws of the State
                                      3   of California that on this day a true and correct copy of the foregoing document was
                                      4   served on the following by U.S. Mail and email:
                                      5

                                      6
                                                                          Shalini Dogra, Esq.
                                                                      DOGRA LAW GROUP PC
                                      7                                    2219 Main Street
                                      8
                                                                               Unit 239
                                                                    Santa Monica, California 90405
                                      9                              shalini@dogralawgroup.com
                                     10

                                     11         Dated: April 24, 2023
Gordon Rees Scully Mansukhani, LLP




                                     12                                         /s/
      5 Park Plaza, Suite 1100




                                     13                                        Viann M. Corbin
         Irvine, CA 92614




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